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  11
                            UNITED STATES DISTRICT COURT
  12
                          CENTRAL DISTRICT OF CALIFORNIA
  13
                                     SOUTHERN DIVISION
  14
       RENO MAY, an individual;               Case No.: 8:23-cv-01696 CJC (ADSx)
  15   ANTHONY MIRANDA, an individual;
       ERIC HANS, an individual; GARY         DECLARATION OF ANDREW
  16   BRENNAN, an individual; OSCAR A.       HARMS IN SUPPORT OF
       BARRETTO, JR., an individual;          PLAINTIFFS’ MOTION FOR
  17   ISABELLE R. BARRETTO, an               PRELIMINARY INJUNCTION
       individual; BARRY BAHRAMI, an
  18   individual; PETE STEPHENSON, an        42 U.S.C. §§ 1983 & 1988
       individual; ANDREW HARMS, an
  19   individual; JOSE FLORES, an            Hearing Date:     December 4, 2023
       individual; DR. SHELDON HOUGH,         Hearing Time:     1:30 p.m.
  20   DDS, an individual; SECOND             Courtroom:        9B
       AMENDMENT FOUNDATION; GUN              Judge:            Hon. Cormac J. Carney
  21   OWNERS OF AMERICA; GUN
       OWNERS FOUNDATION; GUN
  22   OWNERS OF CALIFORNIA, INC.;
       THE LIBERAL GUN CLUB, INC.; and
  23   CALIFORNIA RIFLE & PISTOL
       ASSOCIATION, INCORPORATED,
  24
                           Plaintiffs,
  25                v.
  26   ROBERT BONTA, in his official
       capacity as Attorney General of the
  27   State of California, and DOES 1-10,
  28                       Defendants.


                             DECLARATION OF ANDREW HARMS
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   1                        DECLARATION OF ANDREW HARMS
   2      1. I, Andrew Harms, am a plaintiff in the above-entitled action. I make this
   3   declaration of my own personal knowledge and, if called as a witness, I could and
   4   would testify competently to the truth of the matters set forth herein.
   5      2. I am a current resident of Los Angeles County, California.
   6      3. I am a law-abiding adult who is not prohibited from owning firearms under
   7   the laws of the United States of America or the state of California. I have never
   8   been found by any law enforcement agency, any court, or any other government
   9   agency to be irresponsible, unsafe, or negligent with firearms in any manner. I am a
  10   member of the California Rifle & Pistol Association, another plaintiff in this matter.
  11      4. I have a valid and current California concealed carry weapon (“CCW”)
  12   permit issued by the Glendale Police Department.
  13      5. I legally carry a concealed firearm with me on a daily basis, so that I may be
  14   armed and be able to defend myself, my wife, our two children, and potentially
  15   others in the event of a life-threatening emergency situation. Prior to SB 2, I only
  16   didn’t carry my pistol when planning on going to one of the few places where carry
  17   was not permitted, such as a school or courthouse, or when I intended to have a
  18   drink with dinner.
  19      6. Because SB 2 will prohibit me from carrying in many places where I am
  20   accustomed to concealed carrying a firearm, the utility of my CCW permit, and thus
  21   my right to be armed for self-defense in public, will be outright eliminated in nearly
  22   all common contexts.
  23      7. For example, under SB 2 I cannot carry in any establishment where alcohol is
  24   served, even if I do not intend to drink. That means I cannot conceal carry at most
  25   of the restaurants that I patronize on a regular basis, nor can I even carry in the
  26   parking area of such an establishment.
  27      8. As the father of two young children, places like parks, playgrounds, and
  28   public libraries are regular places I go to with my children. Under SB 2, I cannot
                                                    1
                              DECLARATION OF ANDREW HARMS
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   1   carry in any of those places and thus cannot effectively protect my children.
   2      9. Those two provisions of SB 2 are hardly the only two that will impact me. I
   3   can’t carry while I stop at a gas station to fill up my car, because most gas stations
   4   sell lottery tickets inside, making them off-limits for carry. Under SB 2, carry is
   5   also prohibited at urgent care facilities which I have utilized in the past for medical
   6   attention and would use in the future. Carry is also prohibited at financial
   7   institutions such as my local bank that I frequent, and a variety of other places that I
   8   regularly visit.
   9      10. Perhaps most significantly, under SB 2, concealed carry is prohibited at any
  10   privately owned commercial establishment that does not affirmatively display
  11   notice that the establishment tolerates concealed carry at the establishment’s
  12   premises. There are many local businesses that I frequent that will likely not post
  13   such signs, forcing me to either not carry there or stop patronizing them. Even the
  14   ones that are willing to post such signs may be off limits for other reasons, like
  15   when they share a parking lot with a business that sells alcohol.
  16      11. These are, of course, just a few examples of how SB 2 will affect me, and as
  17   I go about my daily life, I am sure to discover several more. SB 2 will essentially
  18   destroy my constitutional right to carry, as so few of the places I go to on a daily
  19   basis will permit carry, and I don’t want to expose my firearm to theft by constantly
  20   leaving it in my vehicle. But for SB 2 and my fear of criminal prosecution, I would
  21   continue to carry in all of these places as I did before the law took effect.
  22          I declare under penalty of perjury that the foregoing is true and correct.
  23   Executed on September 29, 2023.
  24
  25
  26
  27                      Declarant
  28
                                           2
                              DECLARATION OF ANDREW HARMS
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   1
                               CERTIFICATE OF SERVICE
   2                     IN THE UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
   3
       Case Name: May, et al. v. Bonta
   4   Case No.: 8:23-cv-01696 CJC (ADSx)
   5
       IT IS HEREBY CERTIFIED THAT:
   6
              I, the undersigned, am a citizen of the United States and am at least eighteen
   7   years of age. My business address is 180 East Ocean Boulevard, Suite 200, Long
   8   Beach, California 90802.

   9          I am not a party to the above-entitled action. I have caused service of:
  10   DECLARATION OF ANDREW HARMS IN SUPPORT OF PLAINTIFFS’
       MOTION FOR PRELIMINARY INJUNCTION
  11
  12   on the following party by electronically filing the foregoing with the Clerk of the
       District Court using its ECF System, which electronically notifies them.
  13
       Robert L. Meyerhoff, Deputy Attorney General
  14   California Department of Justice
  15   300 South Spring Street, Suite 1702
       Los Angeles, CA 90013
  16   Email: Robert.Meyerhoff@doj.ca.gov
             Attorney for Defendant
  17
              I declare under penalty of perjury that the foregoing is true and correct.
  18
  19   Executed September 29, 2023.
  20
                                                     Laura Palmerin
  21
  22
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                                   CERTIFICATE OF SERVICE
